Case 2:20-cv-00576-EK-LB Document 41 Filed 05/31/23 Page 1 of 1 PageID #: 175

                           CIVIL CAUSE FOR Pretrial Conference

BEFORE JUDGE: Eric Komitee, U.S.D.J.
DATE: 5/31/2023
TIME IN COURT: 30 Mins


DOCKET NUMBER: CV 20-0576
TITLE: Basile v. County of Nassau

COURT REPORTER/ESR OPERATOR: Andrew Jackson
FTR LOG: 10:53 – 11:28

APPEARANCES:

       Plaintiff:            Justin Roper (by phone)
       Defendants:           Ralph Reissman


SUMMARY: Jury selection set for October 23, 2023, before a magistrate judge. Opening
statements will begin on October 30. The following deadlines were set: (1) by June 5 Plaintiff
shall notify the Court which claims he intends on pursuing and which claims he intends to
dismiss and on what basis, including whether any such dismissals require Defendants' consent;
(2) if Plaintiff wishes to amend his complaint, by June 12 he shall file a motion that fully
complies with this Court's Individual Rules & Practices; (3) as discussed, by June 20 Defendants
shall submit a letter identifying which of Plaintiff's claims are subject to legal challenge and
explaining why Defendants have yet to pursue dispositive motion practice in this action. A
conference will be held on September 8, at 10:00 a.m.
